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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION



UNITED STATES OF AMERICA                                               PLAINTIFF/RESPONDENT

v.                                      Civil No. 05-2012
                                    Criminal No. 03-20039-003
SON TRUONG NGUYEN                                                         DEFENDANT/MOVANT



             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Movant Son Truong Nguyen, a federal prisoner, brings a motion to vacate, set aside, or

correct sentence under 28 U.S.C. § 2255. An evidentiary hearing was conducted on December 14,

2005. Movant testified, as did his former criminal defense attorney John Settle. Interpreter Bill Bell

translated the proceedings. I had indicated to the parties at the conclusion of the hearing that a

transcript of the proceeding would be ordered but, after reviewing the claims, found it unnecessary.


DISCUSSION

       In September 2003, movant was indicted for drug offenses along with two co-defendants.

Movant was charged with conspiracy to distribute methamphetamine (Count I), aiding and abetting

the distribution of more than 5 grams of actual methamphetamine (Count III), aiding and abetting

the distribution of more than 50 grams of methamphetamine (Count IV), and aiding and abetting the

possession with intent to distribute more than 50 grams of methamphetamine (Count V).

       On November 17, 2003, the date scheduled for trial, movant pled guilty to Count V pursuant

to a plea agreement, which provided in part that relevant conduct would be considered in sentencing.

The agreement set out the maximum imprisonment of 40 years and provided that the mandatory
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minimum was 5 years except that, if the drug amount was more than 500 grams of methamphetamine

or 50 grams of actual methamphetamine, the mandatory minimum was 10 years. The presentence

investigation report (PSI report) erroneously stated that the mandatory minimum was 5 years for the

amounts involved in the case but was amended to reflect a 10-year mandatory minimum.

       At the sentencing on February 10, 2004, Settle advised Honorable Robert T. Dawson that

movant was quite fluent in English and an interpreter was unnecessary. Movant was sworn by the

court and asked if he was satisfied with the services of his attorney. Movant replied, “I not fully

understand the whole deal in this case.” (Sentencing T. 3). Settle advised Judge Dawson that

movant had told him he did not understand the amended PSI report prepared in December 2004.

Judge Dawson recessed to call for an interpreter.

       When court resumed with an interpreter present, movant was again sworn and asked if he was

satisfied with the services and representation of Settle. Movant responded, “Yes. He is helping me

a great deal.” (Sentencing T. at 7). The parties advised the court that the amended PSI report had

been reviewed and they agreed with the PSI report that a guideline “safety valve” was appropriate,

which meant that movant was not subject to the 10-year mandatory minimum. Settle related that one

of movant’s problems was the change in the PSI report of the mandatory minimum from 5 to 10

years but that Settle had advised him the probation officer’s recommendation to apply the guideline

“safety valve” meant that movant would be sentenced under the appropriate guideline range without

regard to the 10-year mandatory minimum. At one point, when movant indicated he was having

problems with the addition of drug amounts, the court observed, “I think he understands more than

he may indicate that he does but let’s go off the record and you can compute that for him.”

(Sentencing T. at 11).


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        The court overruled movant’s objections to the PSI report, including the use of relevant

conduct to arrive at the base offense level. With a 3-point reduction for acceptance of responsibility,

the resulting guideline range was 87 to 108 months. The court imposed a sentence of 87 months and

5 years supervised release. Movant took no appeal.

        At the conclusion of the evidentiary hearing before the undersigned, movant withdrew the

claim that his plea was unknowing and involuntary. Movant’s remaining claims are that Settle failed

to file an appeal and movant’s sentence violates Booker.


        Appeal

        Movant contends he directed Settle to appeal but he failed to do so. When counsel fails to

file a notice of appeal after being instructed to do so by the client, actual prejudice is presumed and

no showing of meritorious appellate claims is require to prevail on a claim of ineffective assistance

of counsel. Barger v. U.S. , 204 F.3d 1180, 1181-82 (8th Cir. 2000) (citing Holloway v. United

States, 960 F.2d 1348, 1356-57 (8th Cir. 1992). “A bare assertion by the petitioner that [he] made

a request is not by itself sufficient to support a grant of relief, if evidence that the fact-finder finds

to be more credible indicates the contrary proposition.” Id. (citing Rodriguez v. United States, 964

F.2d 840, 842 (8th Cir. 1992) (per curiam)).

        Settle has practiced law 28 years, 10 of which he served as a state public defender. He was

retained by movant’s family for a fee of $2,500 which was to cover all court proceedings except for

jury trial. Settle spoke several times to members of movant’s family who were interested in the case.

        According to Settle, movant well knew prior to sentencing that “relevant conduct” would be

considered and a 10-year mandatory minimum could apply. After sentencing, movant was unhappy



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with the sentence but did not appear dismayed or surprised or complain that he was expecting a 5-

year mandatory minimum. Later at the jail, Settle discussed the matter of appeal with movant who

asked if he could appeal. Settle advised that the chances of prevailing on appeal were “very poor.”

After receiving this advice, movant did not say he wanted to appeal and never directed Settle to

appeal. Settle does not recall talking to movant after this meeting. Settle sometimes has clients sign

a waiver of appeal but did not do so in this case. Settle explained that inmates can contact him

through telephone calls from relatives and letters but he does not accept collect calls.

       Settle did not use an interpreter when speaking with movant, explaining at the hearing that

he had no reason to believe one was necessary because movant speaks English quite well and

appeared to have a very clear understanding of what was told him. The government introduced a

letter written in English by movant to Settle on March 2, 2004, asking Settle for a “favor” – to

prepare requests for a 500-hour drug class and a transfer for a prison near movant’s family. Movant

stated toward the end of the letter, “Could you do this for the last time.” (Govt’s Ex. 1). Movant

did not mention an appeal.

       Movant testified that he did not understand what his attorney told him regarding legal

matters. Although he understands and speaks English, he is more comfortable communicating in

Vietnamese concerning complicated legal terminology. He attended high school in California where

the teachers spoke English and received in Arkansas a beauty college certificate.

        Movant continued that when he was sentenced, he felt saddened and did not know how much

time 87 months was and had no time to think about it. He asked Settle what happened because he

was expecting a lower sentence. He does not recall the attorney’s response. When he learned that

the mandatory maximum sentence had been increased from 5 to 10 years, he told Settle that he


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wanted to appeal and Settle responded there were no grounds. He never withdrew the request for

an appeal. The last time he saw Settle was in the courtroom after sentencing. He tried to reach the

attorney by telephone several times but the office would not accept his collect calls. He later learned

there was a 10-day limit to file a notice of appeal and while in jail he decided after a year that

nothing was going on with an appeal and he likely had no appeal.

       I find that movant’s hearing testimony was lacking in credibility. According to movant, one

of his main objections to his sentence was the court’s consideration of “relevant conduct” in

sentencing. He said the term was never explained to him by Settle. However, the evidence

establishes that movant early on was made aware of the concept that the Sentencing Guidelines took

into consideration “relevant conduct,” notwithstanding a guilty plea to one count of a multiple-count

indictment. Settle discussed this matter with movant, the plea agreement had a paragraph entitled

“Relevant Conduct Considered,” and the court stated at the plea hearing that it would take into

consideration the dismissed counts at sentencing. I do find that, despite knowing that relevant

conduct would be considered, movant had a difficult time accepting the concept and told Settle it

was not “fair.”

       I also reject movant’s testimony that he believed a 5-year mandatory minimum applied and

Settle promised a 5-year sentence. The credible testimony of Settle establishes that movant was

aware of the 10-year mandatory minimum prior to sentencing. Further, because the guideline “safety

valve” was used in this case, the 10-year mandatory minimum was not applied but, rather, movant

was sentenced under the appropriate guideline range without reference to the 10-year mandatory

minimum.




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       Based on all matters presented, I find credible the testimony of Settle that after he advised

movant that his chances to prevail on appeal were very poor, movant let the matter go and did not

request that the attorney pursue an appeal. I also find instructive movant’s letter to Settle, which

does not mention an appeal but, rather, is concerned with prison matters. The letter indicates movant

is versed in the English language and reasonably intelligent and his testimony of his lack of

comprehension of the English language is suspect. I conclude, contrary to movant’s testimony, that

he accepted his attorney’s advice regarding an appeal and gave no directive to file an appeal.

Accordingly, movant has no valid claim of denial of appeal through the ineffective assistance of

counsel.


       Booker

       Movant challenges his sentence based on United States v. Booker, ___U.S. ___, 125 S.Ct.

738 (2005). In Blakely v. Washington, ___U.S. ___, 124 S.Ct. 2531 (2004) the Supreme Court

struck down as unconstitutional a Washington state sentencing scheme that allowed judges to apply

sentencing enhancements based on judge-found facts. The court held that the Sixth Amendment

right to trial by jury requires that any fact which leads to a sentencing enhancement, other then the

fact of a prior conviction, must be found by a jury or admitted by the defendant. In Booker, the

Supreme Court applied the Blakely holding to the Federal Sentencing Guidelines, finding them

unconstitutional. The Court made the mandatory Guidelines advisory only to correct the defect.

       Here, movant’s conviction became final prior to the delivery of the Booker decision on

January 12, 2005. Booker is not retroactively applied to convictions that became final prior to the




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decision. Never Misses a Shot v. United States, 413 F.3d 781 (8th Cir. 2005). Movant, therefore, has

no Booker claim.


CONCLUSION

       Based on the above, I recommend that movant’s claims be denied and his motion be

dismissed with prejudice.       The parties have ten days from receipt of our report and

recommendation in which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The

failure to file timely objections may result in waiver of the right to appeal questions of fact.

The parties are reminded that objections must be both timely and specific to trigger de novo

review by the district court.

       DATED this 13th day of January 2006.




                                              /s/Beverly Stites Jones
                                              HON. BEVERLY STITES JONES
                                              UNITED STATES MAGISTRATE JUDGE




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